                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR96-0012-LRR
 vs.                                              ORDER REGARDING MOTION
                                                  FOR SENTENCE REDUCTION
 RODERICK WILLIAMS,
                                                        PURSUANT TO
               Defendant.                            18 U.S.C. § 3582(c)(2)

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       This matter comes before the court on its own motion under 18 U.S.C. §
3582(c)(2).1 In relevant part, 18 U.S.C. § 3582(c) provides:
             The court may not modify a term of imprisonment once it has
             been imposed except that . . . in the case of a defendant who
             has been sentenced to a term of imprisonment based on a
             sentencing range that has subsequently been lowered by the
             Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
             upon motion of the defendant or the Director of the Bureau of
             Prisons, or on its own motion, the court may reduce the term
             of imprisonment, after considering the factors set forth in [18
             U.S.C. §] 3553(a) to the extent that they are applicable, if such
             a reduction is consistent with applicable policy statements
             issued by the Sentencing Commission.




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        In light of the record, the court concludes that it need not appoint counsel or
conduct a hearing. See United States v. Harris, 568 F.3d 666, 669 (8th Cir. 2009)
(concluding that there is no right to assistance of counsel when pursuing relief under 18
U.S.C. § 3582(c) and finding that a judge need not hold a hearing on a motion pursuant
to 18 U.S.C. § 3582(c)); see also Fed. R. Crim. P. 43(b)(4) (stating that a defendant’s
presence is not required in a proceeding that involves the reduction of a sentence under 18
U.S.C. § 3582(c)).

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18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”).
       Amendment 750 (Parts A and C only) amends USSG §1B1.10. On June 30, 2011,
the Sentencing Commission unanimously voted to apply Amendment 750 (Parts A and C
only) retroactively to cocaine base (“crack”) offenses, and it set November 1, 2011 as the
date that Amendment 750 (Parts A and C only) could be applied retroactively. Part A
amended the Drug Quantity Table in USSG §2D1.1 for crack offenses and made related
revisions to Application Note 10 to USSG §2D1.1. Part C deleted the cross reference in
USSG §2D2.1(b) under which an offender who possessed more than 5 grams of crack was
sentenced under USSG §2D1.1.
       USSG §1B1.10, in relevant part, states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed in subsection (c)
              below, the court may reduce the defendant’s term of
              imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
              required by 18 U.S.C. § 3582(c)(2), any such reduction in the
              defendant’s term of imprisonment shall be consistent with this
              policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range . . .”).        The Sentencing
Commission included Amendment 750 (Parts A and C only) within subsection (c). USSG
§1B1.10(c). Consequently, under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10, the court
may rely on Amendment 750 (Parts A and C only) to reduce the defendant’s sentence.
       At the court’s request, the United States Probation Office prepared a memorandum
that, among other things, addresses the defendant’s eligibility for a sentence reduction

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under 18 U.S.C. § 3582(c)(2) and calculates the defendant’s amended guideline range.
The United States Probation Office also provided the court with additional information in
support of its memorandum.            That information includes, but is not limited to, the
defendant’s pre-sentence investigation report and the Bureau of Prison’s report on the
defendant.
        Pursuant to 18 U.S.C. § 3582(c)(2) and USSG §1B1.10, the court concludes that
the defendant is entitled to a sentence reduction.2 See United States v. Curry, 584 F.3d
1102, 1104 (8th Cir. 2009) (discussing United States v. Wyatt, 115 F.3d 606, 608-09 (8th
Cir. 1997)) (explaining requirements under USSG §1B1.10(b)). Having reviewed the
defendant’s file, the provisions and commentary of USSG §1B1.10, the factors set forth
in 18 U.S.C. § 3553(a), the nature and seriousness of the danger to any person or
community that may be posed by a reduction in the defendant’s term of imprisonment and
the defendant’s post-sentencing conduct, the court deems it appropriate to exercise its
discretion and grant the defendant the maximum reduction permitted under 18 U.S.C. §
3582(c)(2) and USSG §1B1.10.3 The defendant’s previously imposed 360 month term of
imprisonment, as reflected in the judgment dated April 14, 1997, is reduced to 235 months
imprisonment. The defendant’s new sentence of 235 months imprisonment applies to count
1 of the superseding indictment. Except as provided above, all provisions of the judgment




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        Under Amendment 706 and Amendment 715, the court previously reduced the
defendant’s 360 month term of imprisonment to 292 months imprisonment.
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            For purposes of the instant order, the court relied on the following determinations:
 Previous Offense Level:      39                       Amended Offense Level:       35

 Criminal History Category:   IV                       Criminal History Category:   IV

 Previous Guideline Range:    360 months to life       Amended Guideline Range:     235 to 293 months
The reduced sentence of 235 months imprisonment on count 1 of the superseding
indictment is within the amended guideline range.

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dated April 14, 1997 remain in effect. The duration and conditions of the defendant’s
supervised release remain unchanged.
       The clerk’s office is directed to send and fax a copy of this order to the Bureau of
Prisons, that is, the place where the defendant, USM No. 07135-112, is currently
incarcerated. The clerk’s office is also directed to send a copy of this order to the office
of the Federal Public Defender and the office of the United States Probation.


       IT IS SO ORDERED.
       DATED this 2nd day of November, 2011.




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